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United States of Amerlca, W.D» 0 ~ ~C-' t
Plaintiff,
VS~ civil No. 04~3012-M1v

Six (6) Assorted Conveyances, with
All Appurtenances and Attachments

Thereon, OLQQL
Ninety_Einghousand EightHundred £§FQ m

newman , ,A
Ninety-Five Donars ($98,895.00) in “°TI°N 1011 1=1111>1.>;1 1111:11111(;1E
U.S. Cun'ency, ` _,U 3 DISTRICT JUD

  
 
 

Def€ndants. DLTH

 

 

MOTION TO STAY ALL PROCEEDINGS
PENDING THE OUTCOME OF RELATED CRIMINAL CASE
AND MEMORANDUM IN SUPPORT

 

COMES NOW the United States of America, by and through Terrell L. Ham`s, United States
Attorney, and Christopher E. Cotten, Assistant United States Attorney for the Western District of
Tennessee, and respectfully moves that this Honorable Court stay proceedings in the above-styled
case pending the outcome of a related criminal prosecution. In support of this motion, the United
States would show the following

l . Claimant Major Grubb is the defendant in United States v. Grubb, No. 04-20310-Ma

 

(W.D. Tenn.). Other claimants in this case are Connie McGaughy as the purported owner of the

defendant 1997 Ford Expedition, VIN lFNBUl 8Ll VLBSS] 15, and Amen'can Savings Credit Union

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with Ru!e 58 andjor ?9(€1) FRCP on _a]_Qé’

Case 2:O4-cV-03012-.]P|\/|-de Document 23 Filed 06/22/05 Page 2 of 7 Page|D 19

as the lienholder for the defendant 1997 BMW 740lL, VIN WBAGJSBZSVDM03816.

2. This case was previously stayed on Grubb’s motion without opposition from the
government However, the magistrate judge has set the case for a scheduling conference on June 30,
2005.

3. It is anticipated that the instant case and the related criminal case will require the
testimony ofa number of the same witnesses, and that all of the witnesses the claimants may seek
to depose in relation to this case would also be Witnesses in the criminal proceeding

4. Title 18 U.S.C. Section 981 (g)( l) provides for the stay of civil forfeiture proceedings
where civil discovery will adversely affect the ability of the government to conduct the investigation
and/or prosecution of a related criminal case.

5. Government counsel has consulted with Mr. Bruce I. Griffey, counsel for both Maj or
Grubb and Connie McGaughy. Mr. Griffey advises that he opposes the requested stay on behalf of
Ms. McGaughy, but does not oppose it on behalf of Mr. Grubb. Government counsel has also
consulted with Mr. Roger Stone, counsel for First American Savings Credit Union, who does not
oppose the requested stay.

6. ln further support of this motion, the government submits the following memorandum

of law:

Case 2:04-cV-03012-.]P|\/|-de Document 23 Filed 06/22/05 Page 3 of 7 Page|D 20

 

MEMORANDUM OF LAW
IN SUPPORT OF MOTION TO STAY ALL PROCEEDINGS

 

Title 18 United States Code, Section 981(g)(1) provides that:
Upon motion of the United States, the court shall stay the civil
forfeiture proceeding if the court determines that civil discovery will
adversely affect the ability of the Govemment to conduct a related
criminal investigation or the prosecution of a related criminal case.
18 U.S.C. §981(g)(1) (2000). This section, enacted as part of the Civil Asset Forfeiture Reform Act
of 2000 (CAFRA), replaced an earlier provision that required the government to meet a more
stringent “good cause" standard to obtain a stay. E, 21 U.S.C. §881(i) (repealed effective August
` 21, 2000)'; United States v. A]l Funds Deposited in Account 200008524845, 162 F.Supp.2d 1325,
1330 (D.Wyo. 2001), gg_ot_ing§981(g)(1)("The new statute requires only that the court ‘determine(s)
that civil discovery will adversely affect the ability of the Government to conduct a related criminal
investigation for [sic] the prosecution of a related criminal case.’").
Courts applying the higher "good cause" standard have concluded that the necessity of
protecting a criminal case hom civil discovery by a claimant constitutes sufficient justification for

staying civil forfeiture proceedings ln United States v. Premises and Rea_l Prooertv at 297 Hawlev

Street, Rochester, New York, 727 F.Supp. 90, 91 (W.D.N.Y. 1990), for example, the court, quoting,

 

1The old §881(i) provided that:

The filing of an indictment or information alleging a violation of
law, Federal, State, or local, which is also related to a forfeiture
proceeding under this section shall, upon motion of the United
States and for good cause shown, stay the forfeiture proceeding

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Case 2:04-cV-03012-.]P|\/|-de Document 23 Filed 06/22/05 Page 4 of 7 Page|D 21

United States v. $8,850, 461 U,S. 555, 567 (1983), recognized that:

A civil suit brought prior to, or in conjunction With a related criminal
proceeding "provide[s] improper opportunities for the claimant to
discover the details of . . . [the] pending criminal prosecution." One
of the principal motivations behind the Congressional enactment of
§881(i), therefore, was to prevent a criminal defendant in such a
situation from employing the expansive scope of civil discovery as a
means of circumventing the limitations imposed upon discovery in
criminal cases.

See also, United States v. A Parcel of Land. Buildings. Annurtenances. and Imorovements Known

 

as 92 Buena Vista Ave.. Rumson. New Jersev, 738 F.Supp. 854, 863 (D.N..l. 1990) ("good cause"
established where civil discovery would require government to produce statements of informant in
criminal case and claimant was being allowed to occupy defendant real property); United States v.
One Single Familv Residence located at 2820 Taft Street. Hollvwood. Florida. 710 F.Supp. 1351,
1352 (S.D. Fla. 1989) ("The government is correct in asserting that the scope of civil discovery could
interfere with the criminal prosecution.“).

Similarly, in this case, claimant Major Grubb is the subject of a criminal prosecution in which
the facts and witnesses substantially overlap with the instant civil forfeiture proceedings It is
anticipated, in fact, that every witness the claimants might seek to depose in this case would also be
a witness in the criminal proceeding The broader demands of civil discovery would enable the
claimant to secure information to which he is not entitled under the rules governing discovery in
criminal cases.

Accordingly, it is submitted that a stay of these proceedings is appropriate pending the
outcome of the criminal case. If the requested stay is granted, the government will notify the Court

within 14 days of the resolution of the criminal case by way of the entry ofjudgment.

Case 2:04-cV-03012-.]P|\/|-de Document 23 Filed 06/22/05 Page 5 of 7 Page|D 22

CONCLUSION

 

For the foregoing reasons, the United States respectfully requests that these proceedings be

stayed pending the outcome of the criminal case involving claimant Major Grubb.

Respectfully submitted,

TERRELL L. HARRIS
United States Attomey

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l€HRISTOPHER E. COTTEN
Assistant United States Attomey
800 F ederal Building
Memphis, Tennessee 38103
(901) 544-4231
#014277 {Tennessee)

Case 2:04-cV-03012-.]P|\/|-de Document 23 Filed 06/22/05 Page 6 of 7 Page|D 23

CERTIFlCA'I`E OF SERVICE

 

1, Christopher E. Cotten, Assistant United States Attomey for the Western District of
Tennessee, hereby certify that copies of the foregoing motion have been sent, first class postage pre-
paid, to Mr. Bruce I. Griffey and Mr. Roger Stone, attorneys for the claimants.

This 3 \s+day of Tu\e_ , 2005.

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dr~rarsroPHER E. corrEN
Assistant United States Attomey

 

     

TATES DISTRICT OURT - WESTERN ISRICT OF TENNESSEE

   

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 2:04-CV-03012 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Roger A. Stone

STONE HIGGS & DREXLER
200 .1 efferson Ave.

Ste. 1000

1\/1emphis7 TN 38103

Bruce I. Griffey

LAW OFFICES OF BRUCE 1. GRIFFEY
142 North Third St.

3rd Floor

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

